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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


         v.                                                 DECISION AND ORDER
                                                                22-CR-74-A
JOSEPH S. ZASO,

                                Defendant.


       The Government moves, pursuant to 18 U.S.C. § 3145(a)(1), to revoke

Magistrate Judge Jeremiah J. McCarthy’s conditional order releasing Joseph Zaso

(“Defendant”) pending trial. Upon de novo review, and for the reasons stated below, the

Government’s motion is granted.

                                     BACKGROUND

       Defendant and his single co-defendant are charged in a four-count Indictment,

unsealed May 11, 2022. Dkt. 1. Defendant is charged with committing three counts,

specifically: narcotics conspiracy, in violation of 21 U.S.C. § 846; using and maintaining

a drug-involved premises, in violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2; and

distribution of fentanyl, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B). He is

also subject to a forfeiture allegation demanding at least $235,120.00 as property

derived from proceeds of the foregoing charges.

       The Government moved for detention at Defendant’s May 26, 2022 arraignment.

Dkt. 12. The pretrial services division of the U.S. Probation Office also recommended

detention. Magistrate Judge McCarthy held the detention hearing across three dates:

May 27, May 31, and July 19, 2022. Dkts. 14, 16, and 26. At the conclusion of the

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hearing, Magistrate Judge McCarthy denied the Government’s motion and Defendant

was ordered released on a $50,000 property bond and numerous conditions; however,

the magistrate also stayed the release until 5:00 p.m. of July 22, 2022 to allow the

Government to seek review by this Court. Dkt. 28 (transcript of July 19, 2022 hearing).

         On July 21, 2022, the Government filed a motion for review of the bail

determination. Dkt. 29. The following day, the Court granted the Government’s request

for a stay of the release order for the pendency of the bail revocation appeal. Dkt. 33.

On August 3, 2022, Defendant filed opposition papers and a request for records from

U.S. Probation. Dkt. 40. The Government filed its reply on August 12, 2022. Dkt. 42.

Oral argument was heard on August 22, 2022 and the Court considered the matter

submitted. Dkt. 47.

                                       DISCUSSION

   I.       The Standard of Review

         The district court performs de novo review of a magistrate judge’s conditional

release order. United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985). When conducting

de novo review, the district court may rely on the record of the proceedings before the

magistrate judge and may also accept additional evidence. See United States v.

Colombo, 777 F.2d 96, 98 (2d Cir. 1985). The Court has reviewed all of the papers and

the exhibits submitted, as well as the three transcripts of the detention hearing

conducted by Magistrate Judge McCarthy.

   II.      Pretrial Detention pursuant to the Bail Reform Act

         Under the Bail Reform Act of 1984, a criminal defendant awaiting trial must be

released on bail unless the defendant presents an unreasonable risk of flight or “will



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endanger the safety of any other person or the community.” 18 U.S.C. § 3142(b). If,

after a detention hearing, the court finds that “no condition or combination of conditions

will reasonably assure the appearance of the [defendant] as required and the safety of

any other person and the community,” it must order the defendant detained prior to trial.

18 U.S.C. § 3142(e)(1). Findings regarding the safety of other persons shall be

supported by clear and convincing evidence, whereas a finding that the defendant

poses a flight risk need only be supported by a preponderance of the evidence. See

United States v. English, 629 F.3d 311, 319 (2d Cir. 2011).

         In this case, a rebuttable presumption arises that “no condition or combination of

conditions will reasonably assure the appearance of the [defendant] as required and the

safety of the community” because there is probable cause to believe Defendant

committed “an offense for which a maximum term of imprisonment of ten years or more

is prescribed in the Controlled Substances Act.” 18 U.S.C. § 3142(e)(3). A grand jury

indictment alone establishes probable cause; no independent finding of probable cause

by the Court is necessary. See United States v. Contreras, 776 F.2d 51, 55 (2d Cir.

1985).

         Further, if unrebutted, this presumption of detention is sufficient to sustain the

United States’ burdens of proof on danger and serious risk of flight. See United States

v. Rodriguez, 950 F. 2d 85, 88 (quotation omitted) (2d Cir. 1991); see also United

States v. Parker, 65 F. Supp. 3d 358, 364 (W.D.N.Y. 2014).

         In a presumption case, the defendant “bears a limited burden of production – not

a burden of persuasion – to rebut that presumption by coming forward with evidence

that he does not pose a danger to the community or a risk of flight.” United States v.



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Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). Upon satisfying this burden of production,

the presumption that detention is required does not vanish; rather, it transforms into a

factor to be considered by the Court alongside those listed in 18 U.S.C. § 3142(g). Id.

          In order to determine whether there are conditions of release that will reasonably

assure the safety of the community and a defendant’s appearances as required, the

Court must consider the following:

          (1) the nature and circumstances of the offense charged, including whether the
          offense . . . involves . . . a controlled substance;

          (2) the weight of the evidence against the person;

          (3) the history and characteristics of the person, including –

                 (A) the person’s character, physical and mental condition, family
                 ties, employment, financial resources, length of residence in the
                 community, community ties, past conduct, history relating to drug or
                 alcohol abuse, criminal history, and record concerning appearance
                 at court proceedings; and

                 (B) whether, at the time of the current offense or arrest, the person
                 was on probation, on parole, or on other release pending trial,
                 sentencing, appeal, or completion of sentence for an offense under
                 Federal, State, or local law; and

          (4) the nature and seriousness of the danger to any person or the community that
          would be posed by the person’s release.

18 U.S.C. § 3142(g).

   III.      Application to the Facts

             a. Nature and Circumstances of the Offense Charged

          Defendant has been charged with three serious drug offenses. Count 1 alleges

that he and his co-defendant participated in a drug trafficking conspiracy to possess

with intent to distribute, and to distribute, 1 kilogram of a substance containing heroin

and 400 grams of a substance containing fentanyl, and to use the premises at 12

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Locust Street to manufacture, distribute, and use those substances. The charge in

Count 2 alleges use of the 12 Locust Street premises to manufacture, distribute, and

use heroin and fentanyl and Count 3 alleges distribution of 40 grams of fentanyl. All

three charges are separately serious enough to trigger a rebuttable presumption

according to 18 U.S.C. § 3142(e).

       The Indictment does not allege that weapons were involved or that acts of

violence were committed in furtherance of these crimes. However, fentanyl and heroin

are “lethal narcotics that are destroying communities and causing overdose deaths.

Although not in and of themselves a crime of violence, the harm being caused by the

distribution of these drugs can be more dangerous than some crimes that are

categorized as crimes of violence.” United States v. Mendez, 2020 U.S. Dist. LEXIS

105823, at *12 (W.D.N.Y. June 17, 2020).

       The Defendant has offered little to rebut the charges other than to note that none

of the typical fruits (e.g. luxury vehicles, etc.) of large-scale narcotics trafficking have

been discovered in his possession.

       The Government also proffered that Defendant utilized electronic applications

(“apps”) including “Cash App” and “FaceTime” to conduct his drug trafficking business.

This is significant because the Government argues that Defendant would be able to

resume his drug trafficking by electronic means if he were released on bail.

       The Court finds that this factor weighs heavily against releasing Defendant from

custody.

           b. Weight of the Evidence




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      The weight of the evidence against Defendant is strong. The Government’s

proffer noted that multiple witnesses, including confidential sources and law

enforcement officers, have provided information regarding the charges. There are

mobile phone and app records regarding Defendant’s drug trafficking, GPS tracker

information, a federal search warrant, seized paraphernalia, and laboratory reports

regarding the narcotics. Finally, approximately 296 grams of fentanyl were seized from

one of Defendant’s co-conspirators after law enforcement monitored the transaction

between that individual and Defendant in September 2021.

      The Defendant asserts, “upon information and belief,” that cooperating witnesses

1 and 2 were both frequent drug users and therefore not credible sources. He does not

attempt to explain why law enforcement officers discovered a drug press, digital scales,

and money straps in his residence when it was searched.

      The Court finds that this factor also weighs against Defendant’s release.

          c. History and Characteristics of Defendant

      The Defendant’s criminal history includes several arrests and multiple felony

convictions, including two prior narcotics felonies. The more recent felony drug

conviction was at the federal level. On February 12, 2015, the Eastern District of

Michigan entered a judgment based on Defendant’s guilty plea to violating 21 U.S.C. §§

841(a) and 841(b)(1)(B) and he was sentenced to 60 months of imprisonment, to be

followed by 48 months of supervised release in the Western District of New York. U.S.




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Probation’s report also revealed that Defendant has prior weapons convictions, prior

bench warrants, 1 and a prior revocation of probation.

       The Government proffered that Defendant committed the instant offense, in large

part, while he was on federal supervised release. Defendant’s narcotics conspiracy is

alleged to have begun in September 2018, and his 4-year term of supervised release

(imposed by the Eastern District of Michigan) did not end until sometime in July 2021.

       The Government argues that Defendant’s commission of the instant offense

while he was on supervised release “is the strongest possible evidence” that

supervisory conditions, like probation or home detention, will not reasonably assure that

he will refrain from additional narcotics trafficking while out on bail. See United States v.

Talbert, 2020 U.S. Dist. LEXIS 188835, at *13 (W.D. Pa. Oct. 13, 2020).

       This Court agrees. Supervisory conditions can only effectively protect the

community and minimize a defendant’s risk of flight if there is a good faith basis to

believe such defendant will actually abide by the conditions imposed. Based on the

Government’s proffer, the Court simply does not have confidence that Defendant will

suddenly develop a level of respect for the Court that will inspire him to comply with

conditions of release.

       The Defendant clearly has well established ties to the western New York

community. At the detention hearing, it was relayed to Magistrate Judge McCarthy that

Defendant was the primary caregiver for two of his three children. Defendant also

proffered that he was employed full-time for years, and was so employed at the time of



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 Defendant’s response brief addresses the circumstances surrounding the bench warrants.
Based on this proffer, the Court finds the warrants to be a neutral element in the weighing of this
§ 3142(g) factor.

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his arrest relative to this matter. Assuming the foregoing to be true, these facts still do

not outweigh Defendant’s criminal history and the fact that he committed the instant

crimes while on federal supervised release for a narcotics felony.

          d. Nature and Seriousness of the Danger Posed

       The nature of the danger that Defendant’s release poses has been clearly

elucidated by the Government: a return to narcotics trafficking via electronic means with

the aid of others to actually deliver the drugs while Defendant remains on supervisory

conditions. The Court is acutely aware that the seriousness of this danger is significant.

                                      CONCLUSION

       The Court finds that Defendant does not pose a likely risk of flight, in light of his

ties to Western New York. However, the Court finds by clear and convincing evidence

that no condition or combination of conditions will reasonably assure the safety of the

community should Defendant be released.

       Accordingly, for all of the foregoing reasons, the Court finds that Defendant must

be detained pending trial. The Government’s motion pursuant to 18 U.S.C. § 3145(a)(1)

(Dkt. 29), seeking to revoke the conditional order releasing Defendant is GRANTED.

       Defendant is hereby committed to the custody of the Attorney General pursuant

to 18 U.S.C. § 3142(e) for confinement in a correctional facility separate, to the extent

practical, from persons awaiting or serving sentences or being held in custody pending

appeal.

       Defendant’s cross-motion (Dkt. 40) for disclosure of U.S. Probation records is

DENIED.




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     SO ORDERED.



                                   _s/Richard J. Arcara_________
                                   HONORABLE RICHARD J. ARCARA
                                   UNITED STATES DISTRICT COURT

Dated: September 6, 2022




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